 Case 6:18-cv-00037-JA-KRS Document 26 Filed 02/09/18 Page 1 of 3 PageID 73


                               UNITED STATES DISTRICT COURT
                                MIDDLE DISTRICT OF FLORIDA
                                    ORLANDO DIVISION


                                                CASE No.: 6:18-cv-37-Orl-28-KRS

TAVIA WAGNER,

  Plaintiff,


vs.

GATOR RIVERWOOD, LLC, PNC BANK NA,
d/b/a PNC BANK, DOLLAR TREE STORES, INC.,
DAWN CHEN, and WINN DIXIE STORE, INC.,

      Defendants.
_____________________________________________/

                 MOTION FOR CLERK’S ENTRY OF DEFAULT AGAINST
                    DEFENDANT DAWN CHEN, d/b/a SUPER WOK


        Plaintiff, by and through the undersigned counsel, hereby moves for default pursuant to
Rule 55(a), Fed.R.Civ.P,. based on Defendant’s, DAWN CHEN, d/b/a SUPER WOK, failure to
respond to the Complaint filed and served upon it in this action, and in support, states as follows:
        1.       This action involves Plaintiff’s allegations that Defendant’s property is in violation
of the Americans with Disabilities Act, 42 U.S.C. § 12181, et seq. (hereinafter, “ADA”). More
specifically, Plaintiff claims that the property and building thereon is inaccessible to individuals with
disabilities, including Plaintiff.
        2.       Plaintiff, by and through the undersigned counsel, filed a Complaint with the Court
on January 8, 2018.
        3.       The Summons and Complaint were served upon Defendant, DAWN CHEN, d/b/a
SUPER WOK, by serving Michelle Wong, an authorized entity, for DAWN CHEN d/b/a SUPER
WOK, on January 11, 2018, (Return of Service attached hereto).
        4.       Pursuant to Rule 12(a)(1)(A), Fed.R.Civ.P., Defendant was required to respond to
the Complaint within twenty-one (21) days, on or before February 1, 2018.



                                                   1
 Case 6:18-cv-00037-JA-KRS Document 26 Filed 02/09/18 Page 2 of 3 PageID 74


       5.      To date, no appearance had been entered by an attorney on behalf of Defendant and
no response has been filed by the Defendant to the Complaint.
       6.      The Clerk has authority to grant this motion, and to enter default against Defendant
for the relief requested in the Complaint, based up Rule 55(a), Fed.R.Civ.P., which reads, in
pertinent part, as follows:

               When a party against whom a judgment or affirmative relief is sought has
               Failed to plead or otherwise defend as provided by these rules and the fact
               is made to appear by affidavit or otherwise, the clerk shall enter the party’s
               default.

Id.

       7.      Accordingly, and based upon the foregoing, Plaintiff respectfully submits that
Defendant, DAWN CHEN d/b/a SUPER WOK, has failed to plead or otherwise defend itself, as
required, and that default must be entered.


       WHEREFORE, Plaintiff respectfully requests that the Clerk enter default against
Defendant, DAWN CHEN d/b/a SUPER WOK.

Dated this 9th day of February, 2018.



                                                      By:/S/Joe M. Quick, Esq.______
                                                      Joe M. Quick, Esq.
                                                      Bar Number 0883794
                                                      Attorney for Plaintiff
                                                      Law Offices of Joe M. Quick, Esq.
                                                      1224 S. Peninsula Drive #604
                                                      Daytona Beach, Florida 32118
                                                      Telephone: 386.212.3591
                                                      Email: JMQuickEsq@gmail.com




                                                 2
 Case 6:18-cv-00037-JA-KRS Document 26 Filed 02/09/18 Page 3 of 3 PageID 75


                                  CERTIFICATE OF SERVICE

       I hereby certify that on this 9th day of February 2018, I electronically filed the foregoing
with the Clerk of Court by using the CM/ECF system. I also certify that the foregoing document
is being served on all counsel of record, corporation, or pro se parties via transmission of Notices
of Electronic Filing generated by CM/ECF or in some other authorized manner for those counsel
or parties who are not authorized to receive electronically Notices of Filing.


DAWN CHEN d/b/a SUPER WOK
4031 S. Nova Road, Suite A
Port Orange, Florida 32127
Via US Mail




                                                      By:/S/Joe M. Quick, Esq.______
                                                      Joe M. Quick, Esq.
                                                      Bar Number 0883794
                                                      Attorney for Plaintiff
                                                      Law Offices of Joe M. Quick, Esq.
                                                      1224 S. Peninsula Drive #604
                                                      Daytona Beach, Florida 32118
                                                      Telephone: 386.212.3591
                                                      Email: JMQuickEsq@gmail.com




                                                 3
